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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11      ZHONGTIE DACHENG (ZHUHAI)                     CASE NO. 8:22-CV-461-SSS-ADSX
        INVESTMENT MANAGEMENT CO.
12      LTD, A CHINA COMPANY
13                                                    ORDER GRANTING JOINT
        PETITIONER,                                   STIPULATION EXTENDING
14                                                    DEADLINE TO FILE FRCP 12(F)
              V.
15                                                    MOTION AND CONDUCT LR 7-3
                                                      MEET AND CONFER
16      YAN, JINGGANG, AN INDIVIDUAL
17      AND LIANG, XIUHONG, AN
        INDIVIDUAL,
18
19      RESPONDENTS.

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21           On September 22, 2023, the Parties filed a Joint Stipulation extending the date

22     for Petitioner to file a Fed. R. Civ. P. 12(f) motion and within which to conduct the

23     Local Rule 7-3 meet and confer.

24           The court, having considered the Joint Stipulation and finding good cause,

25     hereby GRANTS the Joint Stipulation and ORDERS as follows:

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1            1. Petitioner Zhongtie Dacheng (Zhuhai) Investment Management Co., Ltd.

2               will have until October 6, 2023 to file any motion pursuant to Fed. R. Civ. P.
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                12(f); and
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5            2. The Parties will have until September 29, 2023 to conduct the required meet

6               and confer pursuant to Local Rule 7-3.
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8            IT IS SO ORDERED.

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10     Dated: September 26, 2023

11                                                ______________________________
                                                  SUNSHINE S. SYKES
12                                                United States District Judge
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